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                                                                               Case: 2:22−mj
                         UNITED STATES DISTRICT COURT                          −30494
                         EASTERN DISTRICT OF MICHIGAN                          Assigned To :
                              SOUTHERN DIVISION                                Unassigned
                                                                               Assign. Date :
UNITED STATES OF AMERICA,                                                      11/10/2022
                                                                               Description: REM
                    Plaintiff                                                  USA V. WARD
                                                                               (KB)
v.                                              Case No. 22-
                                                Originating No. 22MJ00221

JEREMY ROBERT WARD,


                Defendant.
_____________________________________/

                         GOVERNMENT’S PETITION
                     FOR TRANSFER OF DEFENDANT TO
                  ANOTHER DISTRICT AND SUPPORTING BRIEF


       Pursuant to Rule 5(c)(3)(D) of the Federal Rules of Criminal Procedure, the

United States of America hereby petitions the Court for an order transferring defendant

JEREMY ROBERT WARD, to answer to charges pending in another federal district,

and states:

       1. On November 10, 2022, defendant was arrested in the Eastern District

Michigan in connection with a federal arrest warrant issued in the Eastern District of

Arkansas based on a Complaint. Defendant is charged in that district with

violations of 18 USC Section 2423(b) – Travel with Intent to Engage in Illicit Sexual

Conduct with a Minor.


       2. Rule 5 requires this Court to determine whether defendant is the person

named in the arrest warrant and is entitled to a preliminary examination as described in

Paragraph One above. See Fed. R. Crim. P. 5(c)(3)(D)(ii).
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      WHEREFORE, the government requests this Court to conduct transfer

proceedings in accordance with Rule 5 of the Federal Rules of Criminal Procedure.


                                              Respectfully submitted,

                                              DAWN N. ISON
                                              United States Attorney


                                              s/Alyse WU
                                              ALYSE WU
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Dated: November 10, 2022
